86 F.3d 1152
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles STANFIELD, Plaintiff-Appellant,v.Richard A. LANHAM, Sr.;  Sewall Smith, Warden;  TheodorePurnell, Chief of Security;  Pamela Sorensen;  LucilleBagley;  Patricia Goins;  D. Bridell;  Joseph Zbozien;William Filbert, Assistant Warden;  Francis Edmonds,Defendants-Appellees.
    No. 96-6124.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 30, 1996.Decided:  May 30, 1996.
    
      D.Md.
      DISMISSED.
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Benson E. Legg, District Judge.  (CA-94-52-L)
      Charles Stanfield, Appellant Pro Se.  John Joseph Curran, Jr., Attorney General, Audrey J.S. Carrion, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      Before WIDENER, NIEMEYER and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).   The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).   The district court entered its order on December 19, 1995;  Appellant's notice of appeal was dated January 19, 1996, and filed on January 22, 1996.   Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this court of jurisdiction to consider this case.   We therefore dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    